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 2
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                                                                            FILED
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 6   United States of America

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                            CASENO. 1:17-CR-00198LJO-SKO

10                                Plaintiff,              STIPULATION TO ORDER DEFENDANT
                                                          RELEASED ON HIS OWN RECOGNIZANCE
1J                          V.

12   CISCO HERNANDEZ,

13                               Defendant.

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15          IT 1S HEREBY STIPULATED by and between McGregor W. Scott, United States Attorney and

16   Kimberly A. Sanchez, Assistant U.S. Attorney and Richard Beshwate, attorney for the defendant, that the

17   defendant be released on his own recognizance. On or about March 15, 2018, the defendant attempted

18   suicide by hanging in his cell at Fresno County Jail, and suffered an extended period oftime without oxygen

19   to his brain. As) Supervisory DUSM A. J. Castanedas spoke with the head nurse ofthe trauma unit at

20   CRMC on several occasions, including March 21,2018. The head nurse indicated she spoke with the

21   doctors assigned to care for Mr. Hernandez and that his prognosis was poor. Due to the lack of oxygen to the

22   brain, Mr. Hernandez has been unconscious since he was admitted to the hospital on March 15, 2018, and

23   has a poor prognosis for recovery.

24          As such, the parties agree that Mr. Hernandez's lack of consciousness coupled with his poor

25   prognosis, ameliorates any danger to the community or risk of flight. This assessment will change should his

26   medical prognosis change, and the parties agree that should Mr. Hernandez regain consciousness, the Court's

27   Order of detention based on danger to the community and flight risk should be reinstated. Should the

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       Stipulation
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     consciousness regained be something less than a full recovery, the parties will request a hearing to determine

 2   whether the detention Order should be reinstated.

 3

 4   Dated: March 21, 20 I 8                                        Respectfully submitted,

 5                                                                  McGREGOR W. SCOTT
                                                                    United States Attorney
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 7
                                                            By      Is! Kimberly A. Sanchez
 8                                                                  KIMBERLY A. SANCHEZ
                                                                    Assistant U.S. Attorney
 9
            Dated: March 21, 2018                                   Is! Richard Beshwate
10                                                                  RICHARD BESHWATE
                                                                    Attorney for Defendant
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                    IT IS SO ORDERED.
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      Stipulation                                          2
